                      UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION
                            NO. 5:18-CR-452-1-FL


UNITED STATES OF AMERICA,                )
                                         )
                  v.                     )
                                         )
                                         )
LEONID ISAAKOVICH TEYF,                  )

                                     Order to Seal

      Upon motion of the United States, it is hereby ORDERED, for good cause shown

based on the facts and reasons stated in the motion, that the Response of the

Government filed at D.E. 506 in the above-captioned matter be sealed until such time

as requested to be unsealed by the United States Attorney and the court orders it

unsealed.

      It is FURTHER ORDERED that the Clerk of Court make available to the parties

filed copies of the same.

                                       9th day of March, 2020.
                            This, the ____



                                         _________________________________
                                         LOUISE W. FLANAGAN
                                         United States District Judge




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